 Case: 4:15-cv-01279-CDP            Doc. #: 29    Filed: 04/07/16      Page: 1 of 1 PageID #: 397



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

                                                     )
SHELBY EARL SHANNON,
                                                     )
                       Plaintiff,
                                                     )       Case: 4: 15-CV-01279
vs.
                                                     )
CHURCH MUTUAL INSURANCE CO.,
                                                     )
                       Defendant.
                                                     )

                                     MOTION TO DISMISS


       Come now counsel, Charles E. Kirksey, and for his motion request the above styled

matter be dismissed.



                                                     Respectfully submitted,

                                                     IslCharles E. Kirksey
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 CERTIFICATE OF SERVICE: The undersigned certifies that on this 7th day of April, 2016,
 a true and accurate copy of the foregoing was electronically filed via the Court's E-filing system
for service to all counsel of record.

By: IslCharles E. Kirksey
